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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

HELENA DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
vs.
HUGO YANEZ, BREANNE MARIE
BAME, TAVIA DION BLUME, and
KYLE DOUGLAS ALVERSON,

Defendants.

 

 

CR-19-01-H-CCL

Order

Defendant Hugo Yanez and his appointed counsel, Nick Brooke, appeared

today for a hearing on Mr. Brooke’s ex parte “Motion to Withdraw

Representation” (Doc. 120). Michael Kakuk of the United States Attorney’s

Office also appeared, but was excused so that the Court could discuss the issues

raised by the motion with Mr. Brooke and Mr. Yanez.

After questioning both Mr. Brooke and Mr. Yanez, the Court determined

that there is a potential conflict of interest sufficient to warrant substitution of

counsel. Accordingly,
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IT IS HEREBY ORDERED that Mr. Brooke’s motion to withdraw (Doc.
120) is GRANTED and Mr. Brooke is removed as counsel of record.

Mr. Brooke is a member of the Great Falls and Missoula CJA panels and
was apparently appointed in this case because the Federal Defenders and other
available members of the Helena CJA panel were representing Mr. Yanez’s co-
defendants. Accordingly,

IT IS FURTHER ORDERED that this case is referred to the Federal
Defenders of Montana to find appropriate counsel and move for appointment of
such to represent Mr. Yanez at every remaining stage of the proceedings through
disposition, including ancillary matters appropriate to the proceedings.

To allow newly appointed counsel time to prepare for the sentencing
currently set for May 19, 2020,

IT IS FURTHER ORDERED that Mr. Yanez’s sentencing is RESET for
Tuesday, June 2, 2020, at 10:00 a.m. Counsel and Mr. Yanez shall appear in
person in Courtroom II, 901 Front Street, United States Courthouse, Helena,
Montana for Mr. Yanez’s sentencing.

Newly appointed counsel shall submit any objections to the pre-sentence

report to the United States Probation Office on or before May 19, 2020. Mr.

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Yanez’s deadline for filing sentencing memorandum or recommendation letters or
any other motion is extended until May 26, 2020.

The May 19, 2020, sentencing hearing for Defendant Breanne Marie Bame,
will take place as scheduled on May 19, 2020. Counsel and Ms. Bame shall
appear in person in Courtroom II, 901 Front Street, United States Courthouse,
Helena, Montana for Ms. Bame’s sentencing.

The Clerk of Court is directed to notify the Federal Defender’s Office, Mr.
Yanez, counsel, the United States Marshals Service and the United States

Probation Office of entry of this order.

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Dated this day of May, 2020. |

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SENIOR UNITED OVE oRICT JUDGE

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